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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,

               Plaintiffs,                                 Case No. 25-cv-10676

                   v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



                             DECLARATION OF INYOUNG HWANG

       I, Inyoung Hwang, certify the following in support of my request for admission pro hac

vice in the above-captioned matter:

1. I am Senior Litigation Counsel with Human Rights First, 121 W 36th Street, PMB 520, New

   York, NY 10018. I am one of the attorneys for Plaintiffs in the above-captioned matter.

2. I am admitted to the New York State bar. I am also admitted to practice before the U.S.

   District Courts for the Southern and Eastern Districts of New York.

3. I am a member in good standing of every jurisdiction in which I have been admitted to

   practice.

4. I am not the subject of any disciplinary proceedings pending in any jurisdiction in which I am

   a member of the bar.
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5. I have never had a pro hac vice admission to this Court (or other admission for a limited

   purpose under Local Rule 83.5.3) revoked for misconduct.

6. I have read and agree to comply with the Local Rules of the U.S. District Court for the

   District of Massachusetts.

I declare under penalty of perjury that the foregoing is true and correct.



Executed June 10, 2025, in New York, New York.



/s/ Inyoung Hwang
Inyoung Hwang
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